                                                                                     ✔ Original
                                                                                     u                         u Duplicate Original
                                                                                                                                 May 24, 2024
AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV
                                                                                                                                     s/ Mariah Kauder

                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 24-M-435 (SCD)
     Information about the location of the cellular                         )
   telephone assigned call number 414-377-1663,                             )
     more particularly described in Attachment A.                           )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of
(identify the person or describe the property to be searched and give its location):
  See Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




                                                                                          6-7-24
        YOU ARE COMMANDED to execute this warrant on or before                                         (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                         Stephen C. Dries                    .
                                                                                                  (United States Magistrate Judge)

     ✔ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
     u
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     ✔ for 30 days (not to exceed 30) u until, the facts justifying, the later specific date of
     u                                                                                                                                                  .

                                   5-24-24           10:10 am
Date and time issued:
                                                                                                          Judge’s signature

City and state: Milwaukee, WI                                                            Stephen C. Dries, U.S. Magistrate Judge
                                                                                                        Printed name and title
                           Case 2:24-mj-00435-SCD Filed 05/24/24 Page 1 of 19 Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




                           Case 2:24-mj-00435-SCD Filed 05/24/24 Page 2 of 19 Document 1
                                      ATTACHMENT A

                                   Property to Be Searched

Records and information associated with the cellular device assigned 414-377-1663 (referred to

herein and in Attachment B as “the Target Cell Phone”), with listed subscriber(s) unknown that

is in the custody or control of AT&T CORPORATION (referred to herein and in Attachment B

as the “Service Provider”), a wireless communications service provider that is headquartered at

11760 US Highway 1, North Palm Beach, FL 33408.




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                                    ATTACHMENT B

                              Particular Things to be Seized

I.      Information to be Disclosed by the Provider

     To the extent that the information described in Attachment A is within the possession,

custody, or control of the Service Provider, including any information that has been deleted

but is still available to the Service Provider or that has been preserved pursuant to a request

made under 18 U.S.C. § 2703(f), the Service Provider is required to disclose to the

government the following information pertaining to the Account listed in Attachment A:

        a. The following subscriber and historical information about the customers or
           subscribers associated with the Target Cell Phone for the time period 03/23/2024-
           05/23/2024:

                i. Names (including subscriber names, user names, and screen names);

                ii. Addresses (including mailing addresses, residential addresses, business
                    addresses, and e-mail addresses);

               iii. Local and long distance telephone connection records;

               iv. Records of session times and durations, and the temporarily assigned
                   network addresses (such as Internet Protocol (“IP”) addresses) associated
                   with those sessions;

                v. Length of service (including start date) and types of service utilized;

               vi. Telephone or instrument numbers (including MAC addresses, Electronic
                   Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
                   Mobile Equipment Identifier (“MEID”); Mobile Identification Number
                   (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber
                   Integrated Services Digital Network Number (“MSISDN”); International
                   Mobile Subscriber Identity Identifiers (“IMSI”), or International Mobile
                   Equipment Identities (“IMEI”);

              vii. Other subscriber numbers or identities (including the registration Internet
                   Protocol (“IP”) address); and

              viii. Means and source of payment for such service (including any credit card
                    or bank account number) and billing records.


                                               10

       Case 2:24-mj-00435-SCD Filed 05/24/24 Page 4 of 19 Document 1
       ix. All records and other information (not including the contents of
           communications) relating to wire and electronic communications sent or
           received by the Target Cell Phone, including:

        (A) the date and time of the communication, the method of the
            communication, and the source and destination of the communication
            (such as the source and destination telephone numbers (call detail
            records), email addresses, and IP addresses); and

             (ii) information regarding the cell tower and antenna face (also known as
            “sectors” through which the communications were sent and received) as
            well as per-call measurement data (also known as “real-time tool” or
            “RTT”)].

 b. Information associated with each communication to and from the Target Cell
    Phone for a period of 30 days from the date of this warrant, including:

         i. Any unique identifiers associated with the cellular device, including ESN,
            MEIN, MSISDN, IMSI, SIM, or MIN;

        ii. Source and destination telephone numbers;

       iii. Date, time, and duration of communication; and

       iv. All data about the cell towers (i.e. antenna towers covering specific
           geographic areas) and sectors (i.e. faces of the towers) to which the Target
           Cell Phone will connect at the beginning and end of each communication
           as well as per-call measurement data (also known as “real-time tool” or
           “RTT”).

    The Court has also issued an order pursuant to 18 U.S.C. § 3123, dated today, for
    such information associated with the Target Cell Phone.

 c. Information about the location of the Target Cell Phone for a period of 30 days,
    during all times of day and night. “Information about the location of the Subject
    Phone” includes all available E-911 Phase II data, GPS data, latitude-longitude
    data, and other precise location information.

         i. To the extent that the information described in the previous paragraph
            (hereinafter, “Location Information”) is within the possession, custody, or
            control of the Service Provider, the Service Provider is required to disclose
            the Location Information to the government. In addition, the Service
            Provider must furnish the government all information, facilities, and
            technical assistance necessary to accomplish the collection of the Location
            Information unobtrusively and with a minimum of interference with the

                                        11

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                    Service Provider’s services, including by initiating a signal to determine the
                    location of the Target Cell Phone on the Service Provider’s network or with
                    such other reference points as may be reasonably available, and at such
                    intervals and times directed by the government. The government shall
                    compensate the Service Provider for reasonable expenses incurred in
                    furnishing such facilities or assistance.

                ii. This warrant does not authorize the seizure of any tangible property. In
                    approving this warrant, the Court finds reasonable necessity for the seizure
                    of the Location Information. See 18 U.S.C. § 3103a(b)(2).

   II.      Information to be Seized by the Government

         All information described above in Section I that constitutes fruits, evidence and

instrumentalities of either (i) violations of Title 18 U.S.C. Section 751 (a) (Escape from Federal

Custody) involving Gerald JONES including, but not limited to, information pertaining to the

following matters:

            (a) JONES’S location; and

         Law enforcement personnel (who may include, in addition to law enforcement officers

and agents, attorneys for the government, attorney support staff, agency personnel assisting the

government in this investigation, and outside technical experts under government control) are

authorized to review the records produced by the Service Provider in order to locate the things

particularly described in this Warrant.




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AO 106A    (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means                                                                       May 24, 2024

                                                                                                                                                                 s/ Mariah Kauder

                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Eastern District of Wisconsin


                In the Matter of the Search of




                                                                                 Nee! Neer Stare” Seas” Senet
           (Briefly describe the property to be searched
            or identify the person by name and address)                                                         Case No.   24-M-435 (SCD)
Information about the location of the cellular telephone
assigned call number 414-377-1663, more particularly




                                                                                 Ne
              described in Attachment A.
    APPLICATION FOR A WARRANT                             BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
  See Attachment A.

located in the                                      District of                                                               , there is now concealed (identify the
person or describe the property to be seized):
  See Attachment B.


           The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                  oa evidence of a crime;
                  O1 contraband, fruits of crime, or other items illegally possessed;
                  © property designed for use, intended for use, or used in committing a crime;
                  © a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:
                Code Section                                                                                    Offense Description
        18 U.S.C. § 751 (a)                         Escape from Custody



            The application is based on these facts:
          See Attached Affidavit

            a    Continued on the attached sheet.
            a    Delayed notice of   _30   days (give exact ending date if more than 30 days:                                                     ) is requested under
                 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                                                   A~             0
                                                                                                                            Applicant’s signature

                                                                                                                    Kevin Smith, Deputy U.S. Marshal
                                                                                                                            Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                             telephone                                  (specify reliable electronic means).


Date:
                5-24-24
                                                                                                                              Judge’s signature

City and state:      Milwaukee, WI                                                                               Stephen C. Dries, U.S. Magistrate Judge
                                                                                                                            Printed name and title

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                              AFFIDAVIT IN SUPPORT OF
                        AN APPLICATION FOR A SEARCH WARRANT


      I, Deputy U.S. Marshal (DUSM) Kevin Smith, being first duly sworn, hereby depose

and state as follows:

       1.       I make this affidavit in support of an application for a search warrant under Federal

Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2703(c)(1)(A), for information about the location

of the cellular telephone assigned call number 414-377-1663, (the “Target Cell Phone”), whose

service provider is AT&T CORPORATION (“Service Provider”), a wireless telephone service

provider headquartered at 11760 US Highway 1, North Palm Beach, FL 33408. The Target Cell

Phone is described herein and in Attachment A, and the location information to be seized is

described herein and in Attachment B.

       2.       Because this warrant application seeks the prospective collection of information,

including cell-site location information, that may fall within the statutory definitions of

information collected by a “pen register” and/or “trap and trace device,” see 18 U.S.C. § 3127(3)

& (4), I also make this affidavit in support of an application by the United States of America for

an order pursuant to 18 U.S.C §§ 3122 and 3123, authorizing the installation and use of pen

registers and trap and trace devices (“pen-trap devices”) to record, decode, and/or capture dialing,

routing, addressing, and signaling information associated with each communication to or from the

Target Cell Phone.

       3.       I am a Deputy U.S. Marshal with the United Stated Marshals Service and have been

since March of 2021. One of my primary duties is to investigate and arrest state and federal

Fugitives. I have had both formal training and have participated in numerous investigations to

locate federal and state fugitives. Many of these investigations were aided by procurement of

records related to electronic communications and subsequent analysis of those records. In most of



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those cases, the records provided critical investigative leads and corroborative evidence. I am an

investigator or law enforcement officer of the United States within the meaning of 18 U.S.C.

Section 2510(7), in that I am empowered by law to conduct investigations.

       4.       The facts in this affidavit come from my training and experience, my review of

documents and information obtained from other agents. This affidavit is intended to show merely

that there is probable cause for the requested warrant and does not set forth all my knowledge

about this matter.

       5.       Based on the facts set forth in this affidavit, there is probable cause to believe that

Gerald JONES has violated 18 U.S.C. Section 751 (a) (Escape from Federal Custody). JONES is

the subject of an arrest warrant issued on April 5th, 2024, regarding the violations, more fully

described below. There is also probable cause to believe that JONES is aware of these charges

and has fled. There is also probable cause to believe that the location information described in

Attachment B will assist law enforcement in arresting JONES, who is a “person to be arrested”

within the meaning of Federal Rule of Criminal Procedure 41(c)(4).The court has jurisdiction to

issue the proposed warrant because it is a “court of competent jurisdiction” as defined 18 U.S.C.

Section 2711. Specifically, the Court is a district court of the United States that has jurisdiction

over the offense being investigated, see 18 U.S.C. Section 2711(3)(A)(i).

       6.       The court has jurisdiction to issue the proposed warrant because it is a “court of

competent jurisdiction” as defined 18 U.S.C. Section 2711. Specifically, the Court is a district

court of the United States that has jurisdiction over the offense being investigated, see 18 U.S.C.

Section 2711(3)(A)(i).

       7.       The United States government, including the USMS, is investigating violations of

Title 18 U.S.C. Section 751 (a) (Escape from Federal Custody) committed by Gerald JONES.



                                                   2

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       8.     On August 1, 2017, JONES pled guilty in the Western District of Missouri for

violating U.S.C. Sections 846 and 841(a)(1) and (b)(1)(B) in case number 6:16-03062-RK-2.

       9.     On September 18, 2018, JONES was sentenced and committed to the custody of

the United Stated Bureau of Prison (BOP) to be imprisoned for a total term of 132 months to be

followed by 5 years of Supervised Release On December 19, 2023, after serving time incarcerated

with the BOP, JONES was transferred to serve the remainder of his prison sentence at the Parson’s

House Residential Reentry Center (RRC) located in Milwaukee, Wisconsin.

       10.    On April 1, 2024 at approximately 1:40 p.m., the United States Marshals Service

received notification from the Bureau of Prisons of Jones’ escape status. According to Parson’s

House staff, JONES exited the front doors of Parson’s House unauthorized at 1:30 p.m.

       11.    On April 3, 2024, this affiant contacted Parson’s House to confirm that JONES was

still on escape status and had not returned. Parsons’s House staff confirmed that JONES was still

considered a federal BOP escapee and would need to be located and apprehended by the USMS.

       12.    On April 5, 2024, a federal arrest warrant was issued for JONES based on the new

criminal charge (Escape from Federal Custody) in case 24-MJ-77 by the Honorable United States

Magistrate Judge William E. Duffin.

       13.    On April 24, 2024, this affiant contacted Parson’s House to obtain further

information regarding the contact number JONES had on file while housed at Parson’s. Staff gave

the phone number of 414-377-1663, stating this was JONES’ last known cell phone number.

       14.    A query of the phone number 414-377-1663 on the mobile application, Cash App

shows the phone number associated to the account with the name “Gerald Jones” and username

“$GeraldJones81”. The profile photo of the account was compared with the Wisconsin DOT photo

for Gerald JONES and it was determined to be the same person.



                                                3

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       15.     A search of the phone number 414-377-1663 on the open-source database Clear

showed it listing to “Gerald A Jones.”

       16.     Tolls for the number 414-377-1663 were received and reviewed by this affiant. The

tolls revealed callers to include Rose Yarber, JONES’S mother, and Richard Yarber, JONES’S

brother. Tolls also show the top caller to be Bethany Thomas, who has been identified as the

mother to JONES’S children.

       17.     It has been determined that this Target Number is being used by JONES. Law

enforcement databases show the Target Cell Phone’s number 414-377-1663 to be an active

wireless number with AT&T CORPORATION (the “Service Provider”).

       18.     In my training and experience, I have learned that the Service Provider is a

company that provides cellular communications service to the general public. I also know that

providers of cellular communications service have technical capabilities that allow them to collect

and generate information about the locations of the cellular devices to which they provide service,

including cell-site data, also known as “tower/face information” or “cell tower/sector records.”

Cell-site data identifies the “cell towers” (i.e., antenna towers covering specific geographic areas)

that received a radio signal from the cellular device and, in some cases, the “sector” (i.e., faces of

the towers) to which the device connected. These towers are often a half- mile or more apart, even

in urban areas, and can be 10 or more miles apart in rural areas. Furthermore, the tower closest to

a wireless device does not necessarily serve every call made to or from that device. Accordingly,

cell-site data provides an approximate general location of the cellular device.

       19.     Based on my training and experience, I know that the Service Provider can collect

cell-site data on a prospective basis about the Target Cell Phone. Based on my training and

experience, I know that for each communication a cellular device makes, its wireless service



                                                  4

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provider can typically determine: (1) the date and time of the communication; (2) the telephone

numbers involved, if any; (3) the cell tower to which the customer connected at the beginning of

the communication; (4) the cell tower to which the customer was connected at the end of the

communication; and (5) the duration of the communication. I also know that wireless providers

such as the Service Provider typically collect and retain cell-site data pertaining to cellular devices

to which they provide service in their normal course of business in order to use this information

for various business-related purposes.

        20.     I know that some providers of cellular telephone service have technical capabilities

that allow them to collect and generate E-911 Phase II data, also known as GPS data or latitude-

longitude data. E-911 Phase II data provides relatively precise location information about the

cellular telephone itself, either via GPS tracking technology built into the phone or by

triangulating on the device’s signal using data from several of the provider’s cell towers. As

discussed above, cell-site data identifies the “cell towers” (i.e., antenna towers covering specific

geographic areas) that received a radio signal from the cellular telephone and, in some cases, the

“sector” (i.e., faces of the towers) to which the telephone connected. These towers are often a half-

mile or more apart, even in urban areas, and can be 10 or more miles apart in rural areas.

Furthermore, the tower closest to a wireless device does not necessarily serve every call made to

or from that device. Accordingly, cell-site data is typically less precise that E-911 Phase II data.

Based on my training and experience, I know that the Service Provider can collect E-911 Phase

II data about the location of the Target Cell Phone, including by initiating a signal to determine

the location of the Target Cell Phone on the Service Provider’s network or with such other

reference points as may be reasonably available.




                                                  5

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       21.     Based on my training and experience, I know each cellular device has one or more

unique identifiers embedded inside it. Depending on the cellular network and the device, the

embedded unique identifiers for a cellular device could take several different forms, including an

Electronic Serial Number (“ESN”), a Mobile Electronic Identity Number (“MEIN”), a Mobile

Identification Number (“MIN”), a Subscriber Identity Module (“SIM”), a Mobile Subscriber

Integrated Services Digital Network Number (“MSISDN”), an International Mobile Subscriber

Identifier (“IMSI”), or an International Mobile Equipment Identity (“IMEI”). The unique

identifiers – as transmitted from a cellular device to a cellular antenna or tower – can

be recorded by pen-trap devices and indicate the identity of the cellular device making the

communication without revealing the communication’s content.

       22.     Based on my training and experience, I know that wireless providers such as the

Service Provider typically collect and retain information about their subscribers in their normal

course of business. This information can include basic personal information about the subscriber,

such as name and address, and the method(s) of payment (such as credit card account number)

provided by the subscriber to pay for wireless communication service. I also know that wireless

providers such as the Service Provider typically collect and retain information about their

subscribers’ use of the wireless service, such as records about calls or other communications sent

or received by a particular device and other transactional records, in their normal course of

business. In my training and experience, this information may constitute evidence of the crimes

under investigation because the information can be used to identify the Target Cell Phone’s user

or users and may assist in the identification of co-conspirators and/or victims.

       23.     Based on the foregoing, I request that the Court issue the proposed warrant,

pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure 41.



                                                 6

         Case 2:24-mj-00435-SCD Filed 05/24/24 Page 13 of 19 Document 1
        24.     I further request that the Court direct the Service Provider to disclose to the

government any information described in Section I of Attachment B that is within its possession,

custody, or control.

        25.     I also request that the Court direct the Service Provider to furnish the government

all information, facilities, and technical assistance necessary to accomplish the collection of the

information described in Attachment B unobtrusively and with a minimum of interference with

the Service Provider’s services, including by initiating a signal to determine the location of the

Target Cell Phone on the Service Provider’s network or with such other reference points as may

be reasonably available, and at such intervals and times directed by the government. The

government shall reasonably compensate the Service Provider for reasonable expenses incurred

in furnishing such facilities or assistance.

        26.     I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of Criminal

Procedure 41(f)(3), that the Court authorize the officer executing the warrant to delay notice until

30 days after the collection authorized by the warrant has been completed. There is reasonable

cause to believe that providing immediate notification of the warrant may have an adverse result,

as defined in 18 U.S.C. § 2705. Providing immediate notice to the subscriber or user of the Target

Cell Phone would seriously jeopardize the ongoing investigation, as such a disclosure would give

that person an opportunity to destroy evidence, change patterns of behavior, notify confederates,

and flee from prosecution. See 18 U.S.C. § 3103a(b)(1). As further specified in Attachment B,

which is incorporated into the warrant, the proposed search warrant does not authorize the seizure

of any tangible property. See 18 U.S.C. § 3103a(b)(2). Moreover, to the extent that the warrant

authorizes the seizure of any wire or electronic communication (as defined in 18 U.S.C. § 2510)




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         Case 2:24-mj-00435-SCD Filed 05/24/24 Page 14 of 19 Document 1
or any stored wire or electronic information, there is reasonable necessity for the seizure for the

reasons set forth above. See 18 U.S.C. § 3103a(b)(2).

       27.     Because the warrant will be served on the Service Provider, who will then

compile the requested records at a time convenient to it, reasonable cause exists to permit the

execution of the requested warrant at any time in the day or night. I further request that the Court

authorize execution of the warrant at any time of day or night, owing to the potential need to

locate the Target Cell Phone outside of daytime hours.




                                                 8

         Case 2:24-mj-00435-SCD Filed 05/24/24 Page 15 of 19 Document 1
                                      ATTACHMENT A

                                   Property to Be Searched

Records and information associated with the cellular device assigned 414-377-1663 (referred to

herein and in Attachment B as “the Target Cell Phone”), with listed subscriber(s) unknown that

is in the custody or control of AT&T CORPORATION (referred to herein and in Attachment B

as the “Service Provider”), a wireless communications service provider that is headquartered at

11760 US Highway 1, North Palm Beach, FL 33408.




                                                9

        Case 2:24-mj-00435-SCD Filed 05/24/24 Page 16 of 19 Document 1
                                    ATTACHMENT B

                              Particular Things to be Seized

I.      Information to be Disclosed by the Provider

     To the extent that the information described in Attachment A is within the possession,

custody, or control of the Service Provider, including any information that has been deleted

but is still available to the Service Provider or that has been preserved pursuant to a request

made under 18 U.S.C. § 2703(f), the Service Provider is required to disclose to the

government the following information pertaining to the Account listed in Attachment A:

        a. The following subscriber and historical information about the customers or
           subscribers associated with the Target Cell Phone for the time period 03/23/2024-
           05/23/2024:

                i. Names (including subscriber names, user names, and screen names);

                ii. Addresses (including mailing addresses, residential addresses, business
                    addresses, and e-mail addresses);

               iii. Local and long distance telephone connection records;

               iv. Records of session times and durations, and the temporarily assigned
                   network addresses (such as Internet Protocol (“IP”) addresses) associated
                   with those sessions;

                v. Length of service (including start date) and types of service utilized;

               vi. Telephone or instrument numbers (including MAC addresses, Electronic
                   Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
                   Mobile Equipment Identifier (“MEID”); Mobile Identification Number
                   (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber
                   Integrated Services Digital Network Number (“MSISDN”); International
                   Mobile Subscriber Identity Identifiers (“IMSI”), or International Mobile
                   Equipment Identities (“IMEI”);

              vii. Other subscriber numbers or identities (including the registration Internet
                   Protocol (“IP”) address); and

              viii. Means and source of payment for such service (including any credit card
                    or bank account number) and billing records.


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      Case 2:24-mj-00435-SCD Filed 05/24/24 Page 17 of 19 Document 1
       ix. All records and other information (not including the contents of
           communications) relating to wire and electronic communications sent or
           received by the Target Cell Phone, including:

        (A) the date and time of the communication, the method of the
            communication, and the source and destination of the communication
            (such as the source and destination telephone numbers (call detail
            records), email addresses, and IP addresses); and

             (ii) information regarding the cell tower and antenna face (also known as
            “sectors” through which the communications were sent and received) as
            well as per-call measurement data (also known as “real-time tool” or
            “RTT”)].

 b. Information associated with each communication to and from the Target Cell
    Phone for a period of 30 days from the date of this warrant, including:

         i. Any unique identifiers associated with the cellular device, including ESN,
            MEIN, MSISDN, IMSI, SIM, or MIN;

        ii. Source and destination telephone numbers;

       iii. Date, time, and duration of communication; and

       iv. All data about the cell towers (i.e. antenna towers covering specific
           geographic areas) and sectors (i.e. faces of the towers) to which the Target
           Cell Phone will connect at the beginning and end of each communication
           as well as per-call measurement data (also known as “real-time tool” or
           “RTT”).

    The Court has also issued an order pursuant to 18 U.S.C. § 3123, dated today, for
    such information associated with the Target Cell Phone.

 c. Information about the location of the Target Cell Phone for a period of 30 days,
    during all times of day and night. “Information about the location of the Subject
    Phone” includes all available E-911 Phase II data, GPS data, latitude-longitude
    data, and other precise location information.

         i. To the extent that the information described in the previous paragraph
            (hereinafter, “Location Information”) is within the possession, custody, or
            control of the Service Provider, the Service Provider is required to disclose
            the Location Information to the government. In addition, the Service
            Provider must furnish the government all information, facilities, and
            technical assistance necessary to accomplish the collection of the Location
            Information unobtrusively and with a minimum of interference with the

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                    Service Provider’s services, including by initiating a signal to determine the
                    location of the Target Cell Phone on the Service Provider’s network or with
                    such other reference points as may be reasonably available, and at such
                    intervals and times directed by the government. The government shall
                    compensate the Service Provider for reasonable expenses incurred in
                    furnishing such facilities or assistance.

                ii. This warrant does not authorize the seizure of any tangible property. In
                    approving this warrant, the Court finds reasonable necessity for the seizure
                    of the Location Information. See 18 U.S.C. § 3103a(b)(2).

   II.      Information to be Seized by the Government

         All information described above in Section I that constitutes fruits, evidence and

instrumentalities of either (i) violations of Title 18 U.S.C. Section 751 (a) (Escape from Federal

Custody) involving Gerald JONES including, but not limited to, information pertaining to the

following matters:

            (a) JONES’S location; and

         Law enforcement personnel (who may include, in addition to law enforcement officers

and agents, attorneys for the government, attorney support staff, agency personnel assisting the

government in this investigation, and outside technical experts under government control) are

authorized to review the records produced by the Service Provider in order to locate the things

particularly described in this Warrant.




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